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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

Civil Action No.

ROBERT A. HUNTSMAN and

LILY M. HUNTSMAN,

       Plaintiffs, Pro Se,

v.


LIBERTY MUTUAL AUTO AND HOME SERVICES LLC,

GEICO Insurance Agency, LLC,

LexisNexis Risk Solutions Inc.,

Allstate Vehicle & Property Insurance Company,

AMERICAN FAMILY HOME INSURANCE COMPANY,

PROGRESSIVE CASUALTY INSURANCE COMPANY,

Auto-Owners Insurance Company,

FARMERS GROUP PROPERTY AND CASUALTY INSURANCE,

NATIONWIDE INSURANCE COMPANY OF AMERICA,

ENCOMPASS INSURANCE COMPANY,

STILLWATER PROPERTY AND CASUALTY INSURANCE COMPANY, and

The Travelers Personal Insurance Company,

                                            Defendants.




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                                    STIPULATION OF
                   VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii) OF
                               GEICO INSURANCE AGENCY, LLC


      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), after conferring with all counsel and

receiving no objection, Plaintiffs Robert A. and Lily M. Huntsman and Defendant hereby stipulate that

all counts of this action against Defendant Farmers Group Property and Casualty Insurance only are

voluntarily dismissed without prejudice with each side paying its costs and fees.




      DATED: January 10, 2025


      s/Robert Huntsman
      Plaintiff, Pro Se

      s/Lily Huntsman
      Plaintiff, Pro Se




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